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                       UNITED STATES DISTRICT COURT FOR THE
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                              SOUTHERN DISTRICT OF GEORGI A

                                      SAVANNAH DIVISION



UNITED STATES OF AMERICA                                MOTION TO DISMISS

               V.                                       CR 406-354

TROY D. BROWN


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the government

moves to dismiss the information in the above-captioned case due to these offenses not being in

the government's interest to prosecute at this time .




                                               LISA GODBEY WOOD
                                               UNITED STATES ATTORNEY




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